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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


RICHARD SEEKS, individually and on                )
behalf of all other similarly situated,           )
                                                  )
               Plaintiff,                         )    Case No. 19-cv-2394
                                                  )
       v.                                         )
                                                  )    Hon. John J. Tharp, Jr.
THE BOEING COMPANY, et al.,                       )
                                                  )
               Defendants,                        )
                                                  )


                       MOTION TO EXTEND DEFENDANTS’
                    DEADLINE TO RESPOND TO THE COMPLAINT


       Defendants hereby respectfully move the Court to extend their deadline for responding to

the complaint until after the appointment of a lead plaintiff under the Private Securities Litigation

Reform Act. In support of this motion, Defendants state:

       1.      This action was filed on April 9, 2019. Defendants’ current deadline to respond

to the complaint is June 24, 2019. (Docket #16)

       2.      Because the action is “brought as a plaintiff class action” for federal securities

fraud, it is subject to the Private Securities Litigation Reform Act, 15 U.S.C. § 78u-4(a)(1). The

Reform Act required the named plaintiff to publish “a notice advising members of the purported

plaintiff class of the pendency of the action,” so that “any member of the purported class [could]

move the court to serve as lead plaintiff of the purported class.” Id. § (a)(3). The deadline for

filing any such motions in this case was June 10, 2019, and seven motions were filed. (Docket

#27, 32, 37, 41, 46, 49, 52) The motions are noticed for presentment on June 21, 2019.

       3.      Pursuant to the Reform Act, the Court will review the competing lead-plaintiff
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motions and “appoint as lead plaintiff the member or members of the purported class that the

court determines to be most capable of adequately representing the interests of class members.”

15 U.S.C. § 78u-4(a)(3)(B)(i). The lead plaintiff will then, “subject to the approval of the court,

select and retain counsel to represent the class.” Id. § (a)(3)(B)(v).

       4.      As a result, because there is no plaintiff currently authorized to act on behalf of

the putative class, and because whoever is ultimately selected as lead plaintiff may wish to file

an amended complaint, the most efficient path is to extend Defendants’ deadline for responding

to the complaint until after the Court appoints a lead plaintiff who can (a) elect to stand on the

current complaint or file an amended complaint; and (b) respond on behalf of the putative class

to the motion to dismiss Defendants intend to file.

       5.      For that reason, Defendants request that the Court extend Defendants’ deadline

for responding to the complaint until after a lead plaintiff is appointed. Defendants propose that

the Court order the eventual lead plaintiff and Defendants to confer and, within 15 days of the

appointment of the lead plaintiff, jointly submit to the Court a proposed schedule for either an

amended complaint and response thereto, or a response to the current complaint.

       6.      Defendants also respectfully request that the Court defer, until after a lead

plaintiff is appointed, the initial status report currently due on June 25, 2019, and the status

conference scheduled for June 27, 2019. (Docket #16)

       7.      Before filing this motion, counsel for Defendants conferred with counsel for the

named plaintiff regarding their intent to file this motion. Counsel for the named plaintiff

indicated that they do not oppose the relief requested herein.




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Dated: June 14, 2019                        Respectfully submitted,


                                             /s/ Joshua Z. Rabinovitz
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